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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
 In re:

 JORGE HANE,                                                       BK Case No. 16-25954-LMI

                                                                   (Chapter 7)

Debtor                                                            Adv. No: 17-01234-LMI

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BLUE BANK INTERNATIONAL, N.V.;
COLTEFINANCIERA, S.A.

                 Plaintiffs,
          v.

JORGE HANE,

            Defendant.
___________________________________


                      PLAINTIFF’S OPPOSITION TO MOTION IN LIMINE


          Plaintiffs/Creditors BLUE BANK INTERNATIONAL, N.V. and COLTEFINANCIERA,

S.A. (collectively, “Plaintiffs”) respectfully submit this opposition to Defendant/Debtor JORGE

HANE’s (“Debtor”) June 18, 2019 Motion in Limine [ECF No. 80] (the “Motion”) and state the

following:
                                          BACKGROUND

          Debtor, who controlled and owned a web of corporate entities in Florida and in various

foreign jurisdictions – some disclosed on the Chapter 7 Statement of Financial Affairs (“SOFA”),

and some not – now seeks to “exclude all evidence related to the business records” of four of those

companies in the upcoming June 24, 2019 bench trial on Plaintiffs’ objection to discharge under 11

U.S.C. § 727(a)(3). That motion in limine should be denied.



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       This is an adversary proceeding in which Plaintiffs are objecting to Debtor’s discharge

under Bankruptcy Code § § 727(a)(3) and 727(a)(4)(A). Debtor does not object to the use of these

same documents to prove that he made a false oath or account, and therefore should be denied

discharge under Section 727(a)(4)(A). Yet, these documents are also relevant to the count under

Section 727(a)(3).

       First, this new argument was not contained in any of Debtor’s affirmative defenses to the

operative Amended Complaint. As laid out in Section 727(a)(3), discharge is to be denied where

“the debtor has concealed, destroyed…or failed to keep or preserve any recorded information,

including books, documents, records and papers, from which the debtor’s financial condition or

business transactions might be ascertained…” (emphasis added). While Debtor claimed to have

little to no records regarding his own companies, Plaintiffs later discovered that such documents

have always existed, but Debtor failed to produce them in this Chapter 7 case – Debtor’s third

personal bankruptcy. The fact of their existence, and Debtor’s failure to produce them, is plainly

relevant for the Section 727(a)(3) claim.

       Second, Debtor’s Motion contains various factual assertions that are contradicted by

Debtor’s own deposition testimony about what the Motion calls the “Affiliate Companies.” 1

(Motion ¶4.) The Affiliate Companies are the following:

       1.      JorgeHane Laboratories Corp., a Florida corporation. At all times, Debtor was

100% owner (accurately stated in the Motion).
       2.      JorgeHane Laboratories, S.A.S, a Colombian company. At all times, this was a

100% subsidiary of the Florida corporation, which in turn was wholly owned by Debtor. 2 Debtor

claimed this Colombian entity as a “foreign disregarded entity” on his personal tax returns, and



1 Debtor’s definition of “Affiliated Companies” in the Motion does not include JorgeHane
Holdings LLC or Latinoshopping Corp. – other Florida companies owned and controlled by Debtor
until 2016, but not disclosed in the SOFA.
2 Debtor’s Depo. at p.50 (Q. And JorgeHane Laboratories Corp is 100 percent owner of JorgeHane

Laboratories Columbia SAS, correct? A. Yes.)

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testified it provided the vast majority of income to the Florida corporation. However, the Motion

inaccurately says it was only 90% held by the Florida corporation. (Motion ¶4.)

        3.     JorgeHane Laboratories, S.A., an Argentinian company. Until August 2016

(within three months of the Chapter 7 petition), it was a 95% subsidiary of the Florida corporation,

which in turn was wholly owned by Debtor.3 Debtor’s wife held the other 5%, and they collectively

gave it to an insider in exchange of no money. However, the Motion inaccurately says it was only

90% held by the Florida corporation. (Motion ¶4.) This company was not disclosed in the SOFA.

        4.     JorgeHane Laboratories de Centroamerica S. de R.L., a Panamanian company.

According to Debtor’s own tax returns, he personally held 90% of this company (accurately stated

in the Motion), and his spouse held the remaining 10%. Yet, Debtor’s spouse disclaimed any

knowledge of this company at her deposition. Further, this company was not disclosed in the

SOFA.

        While Debtor did provide tax returns for the one Florida corporation mentioned above, he

failed to provide any other corporate records of this company, which he solely ran and managed for

years. The production is even less significant for the Colombian, Argentinian and Panamanian

entities that were owned and managed by Debtor. He testified that the Colombian entity (100%

owned by Debtor through his 100% owned Florida corporation) was much more than 50% of all of

his income, but Debtor provided no records on how that company operated or its finances. For the

Panamanian and Argentinian companies, the only minority shareholder was Debtor’s spouse, 5% in
the case of Argentina and 10% in the case of Panama. Without this vital business information and

records, Plaintiffs cannot ascertain the actual financial situation of the Debtor.

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3Debtor’s Depo. at p.51 (Q. What share of the Argentine company did JorgeHane Laboratories
Corp own? A. 95 percent. Q. Who owned the other five percent? A. My wife.



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                                           ARGUMENT

       Debtor claims that under controlling Eleventh Circuit law, “an individual’s discharge cannot

be denied under 727(a)(3) where… the corporation whose books and records are being challenged

is a bona fide separate entity from the Debtors.” Motion at p. 2, quoting In re Espino, 48 B.R.

232, 235 (Bankr. S.D. Fla. 1984) (emphasis added), aff’d at 806 F.2d 1001, 1002 (11th Cir. 1986).

“While it is the law that a debtor's discharge may not be denied solely on the basis of lack of

corporate records, this does not mean that a debtor's corporate records cannot be the basis for

denying a debtor's discharge under section 727(a)(3).” In re Lorenzo, 518 B.R. 92, 97 (S.D. Fla.

2014) (internal citation omitted), aff'd, 606 F. App’x 548 (11th Cir. 2015).

       Bankruptcy courts in Florida have found failure to produce corporate records to justify a

denial of discharge where the debtor “had a duty to preserve and maintain corporate records

wherein she held positions of authority, such that her creditors could ascertain her financial

condition and her business transactions.” In re Ross, 217 B.R. 319, 332 (Bankr. M.D. Fla. 1998);

see In re Nipper, 186 B.R. 284, 289 (Bankr. M.D. Fla. 1995) (denying discharge under section

727(a)(3) because “the defendant, as the sole officer and shareholder of CFI, failed to keep or

preserve records from which the debtor business transaction might be ascertained.”); see also In re

Lorenzo, 518 B.R. at 98-99 (affirming denial of discharge where debtor was sole shareholder of her

businesses, used business funds for personal expenses and destroyed business records).

       Debtor’s cases, while good law for the general principle that failure to produce corporate
records is not alone a reason to deny a personal discharge, are distinguishable. In Espino, the

company at issue was never owned by the debtors, but rather by the debtors’ children. 48 B.R. at

236. The court’s analysis was that, while the debtors may have received some benefit from his

children’s company, the debtors never had an ownership interest in the company. Here, on the other

hand, Debtor did have an ownership interest in all of these companies as shown by his own

testimony and tax returns.




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       In Tocci, another thirty-five year old bankruptcy case cited by Debtor, the court cited

Espino and found that the debtor “had no responsibility for the corporate financial records, which

were kept by his partner.” In re Tocci, 34 B.R. at 67 (Bankr. S.D. Fla. 1983)(emphasis added).

Unlike those cases, for this Debtor’s corporate entities, there are no other partners, except for two

companies where Debtor’s wife held 5-10% of the shares (and apparently without her knowledge).

       In In re Nguyen, 100 B.R. 581 (Bankr. M.D. Fla. 1989), the court granted a discharge under

the specific facts in that case, where it found a justification for the debtor’s failure to keep business

records. The Nguyen debtor had “uncomplex financial affairs” with a sole business that did not

generate sufficient income, so “it [was] conceivable that that that debtor did not maintain books and

records.” 100 B.R. at 583. The court also held that “the burden is placed on the debtor to justify the

failure to keep books and records, or adequate books and records in the event that the right to

discharge is challenged on this ground.” Id. Here, as shown by the Debtor’s tax returns and the

thousands of pages that were recently produced by Debtor’s accountant before trial, Debtor did not

have “uncomplex financial affairs” that would excuse keeping corporate records of his companies.

       Similarly, in In re White, 177 B.R. 100, another case cited by Debtor, the debtor was only

one of several partners in a general partnership, and he actually did produce books and records of

that bona fide entity. Discharge was denied for other reasons, but it did cite Espino for the

difference between corporate and individual records. The court clarified that, while failure to keep

records may be justified with unsophisticated debtors, “an individual who was extensively involved
in various and sundry business affairs and has liabilities in the six or more figures certainly should

have extensive and detailed books and records from which the debtor’s financial condition and

business transactions can be ascertained.” 177 B.R. at 114.

       Here, there is ample evidence that these companies were treated as pass-through entities by

Debtor for tax purposes and that these companies paid numerous personal expenses for Debtor.

Debtor failed to keep (or concealed) corporate records, failed to produce documents responsive to

Plaintiff’s document requests, but Plaintiffs needed those documents to ascertain Debtor’s actual


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financial condition and business transactions. The fact that Debtor put a 100% owned corporation

in between him and some of his companies, which were claimed as pass-through “disregarded

entities” should not excuse Debtor’s responsibility to records or make those companies’ business

records irrelevant in the adversary proceeding.


                                         CONCLUSION

       Plaintiffs respectfully ask the Court to deny Debtor’s motion in limine, as these four

companies were owned by Debtor, and Debtor’s failure to maintain records or concealment of those

records has prevented Plaintiffs from ascertaining Debtor’s financial condition and business

transactions.



 Dated: June 20, 2019                                 Respectfully submitted,

                                                      /s/ Brian J. Recor
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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

CM/ECF on the Debtor’s counsel, Michael Hoffman and Peter Russin, on June 20, 2019.

                                            By: /s/ Brian J. Recor

                                                   Brian J. Recor, Esq.




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